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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

COMMUNITIES UNITED, COMMUNITY
RENEWAL SOCIETY, NEXT STEPS
NFP, ONE NORTHSIDE, and the ACLU
OF ILLINOIS, on behalf of their respective
members,
                                                                    Case No. 17-cv-7151
                                      Plaintiffs,
                                                                    Hon. Elaine E. Bucklo
                    vs.

THE CITY OF CHICAGO,

                                  Defendant.

                                       NOTICE OF MOTION

        PLEASE TAKE NOTICE THAT on January 24, 2018, at 9:30 a.m., or as soon
thereafter as counsel may be heard, we shall appear before the Honorable Elaine E. Bucklo, or
any judge sitting in her stead in Courtroom 2243 of the United States District Court for the
Northern District of Illinois and present DEFENDANT’S MOTION FOR LEAVE TO FILE
ITS MOTION TO DISMISS AMENDED COMPLAINT IN EXCESS OF 15 PAGES
INSTANTER, a copy of which is served upon you.

Dated: January 12, 2018                             Respectfully submitted,

                                                    CITY OF CHICAGO

                                          By:       s/ Allan T. Slagel
                                                    One of its Attorneys
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